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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Helen Schirmer,                                  NO. CV-15-01550-PHX-GMS
10                  Plaintiff,
                                                     JUDGMENT IN A CIVIL CASE
11   v.
12   Avalon Health Care Incorporated, et al.,
13                  Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17            IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
18   May 10, 2017, which granted Defendant’s Motion for Summary Judgment, judgment is
19   entered in favor of defendant and against plaintiff. Plaintiff to take nothing, and the
20   complaint and action are terminated.
21                                              Brian D. Karth
                                                District Court Executive/Clerk of Court
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23   May 10, 2017
                                                s/ A. Duran
24                                      By      Deputy Clerk
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